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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           8:03CR394
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )        MEMORANDUM AND ORDER
                                              )
VICTOR PAUL HERNANDEZ O’CHOA,                 )
                                              )
                     Defendant.               )

       This matter is before the court for initial review of the defendant’s “Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a person in Federal Custody”

(§ 2255 motion) (Filing No. 137).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a ' 2255 motion, and describes the initial review

process:

       The motion, together with all the files, records, transcripts, and
       correspondence relating to the judgment under attack, shall be examined
       promptly by the judge to whom it is assigned. If it plainly appears from the
       face of the motion and any annexed exhibits and the prior proceedings in the
       case that the movant is not entitled to relief in the district court, the judge
       shall make an order for its summary dismissal and cause the movant to be
       notified. Otherwise, the judge shall order the United States Attorney to file
       an answer or other pleading within the period of time fixed by the court or to
       take such other action as the judge deems appropriate.

       After pleading guilty to Count I of the indictment charging defendant with Conspiracy

to Possess with Intent to Distribute Methamphetamine in violation of 21 U.S.C. §§

841(a)(1), (b)(1) and 846, and Count V of the indictment charging defendant with Criminal

Forfeiture, the court sentenced defendant to 120 months in the custody of the Bureau of

Prisons followed by five years supervised release.
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       In his § 2255 motion defendant argues that the court erred when sentencing

defendant because “the minor role adjustment warranted the guideline level to begin at

level 30" under § 3B1.2 of the sentencing guidelines.

       Aside from the issues of waiver, timeliness and procedural default, the record

refutes defendant’s argument on its merits. Defendant is correct that under the 2003

Sentencing Guidelines "if the defendant receives an adjustment under 3B1.2 (Mitigating

Role), the base offense level under this subsection shall be not more than level 30."

U.S.S.G. 2D1.1(a)(3). Defendant, however, cannot challenge his sentence on this basis.

A review of the audio tape of the sentencing hearing reveals that the court accepted the

plea agreement and acknowledged that because defendant received a minor role

adjustment his base offense level was 30.        The court then subtracted 3 points for

acceptance of responsibility and 2 points for the minor role adjustment, lowering his base

offense level to 25. Therefore, it appears plainly from the face of the § 2255 motion and

the record that the defendant is not entitled to relief with respect to his claim. The claim

is denied.

       IT IS ORDERED:

       1. That the defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 137) is

denied;

       2.     A separate Judgment will be entered; and

       3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

defendant at his last known address.

       DATED this 19th day of December, 2005.

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                                    BY THE COURT:



                                    s/Joseph F. Bataillon
                                    JOSEPH F. BATAILLON
                                    United States District Judge




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